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               IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION

 ERIN DAVIS, et al.,
             Plaintiffs,
     v.                                     No. 3:22-cv-00237-MMH-MCR
 LLOYD AUSTIN, III, et al.
             Defendants.

              PLAINTIFFS’ RESPONSE IN OPPOSITION TO
                 DEFENDANTS’ MOTION TO DISMISS

       On August 24, 2021, the Department of Defense (“DOD”) issued its

 COVID vaccine mandate (“DOD Mandate”). The record of the past year has

 eliminated any scientific, legal or military basis the mandate may have had.

       On July 21, 2021, President Biden confidently predicted, without

 qualification, that “You’re not going to get COVID if you have these

 vaccinations.” 1 On July 21, 2022, exactly one year later, the fully vaccinated

 and double boosted President contracted COVID, an event the President and

 his doctors “knew … was going to happen,” because “at some point, everyone is

 going to get COVID.” Ex. 1, July 21, 2022 White House Press Briefing, at 16.

       On August 1, 2021, Secretary Kendall congratulated the Air Force,

 declaring victory over COVID: “You’ve met and defeated a pandemic.” Ex. 14


 1 See Jason Lemon, Video of Biden Saying Vaccinations Prevent COVID Resurface
 After     Infection,   NEWSWEEK         (July   21,  2022),     available     at:
 https://www.newsweek.com/joe-biden-2021-video-saying-vaccinations-prevent-covid-
 resurfaces-1726900 (last visited Aug. 8, 2022).

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 at 2. On August 11, 2022, the Centers for Disease Control and Prevention

 (“CDC”) acknowledged that the vaccines do not prevent infection or

 transmission and revised its COVID prevention recommendations to “no

 longer differentiate based on … vaccination status.” 2

       Defendants, however, have not altered their policies to reflect the

 scientific consensus or their own statements. Instead, they have accelerated

 their discriminatory treatment and attempts to purge of those who, like

 Plaintiffs, oppose the novel, fraudulent and ineffective mRNA treatments

 based on their sincerely held religious beliefs, as well as concerns regarding

 the illegality of the mandate, safety, and readiness. The military faces the loss

 of tens or hundreds of thousands of service members. 3 The losses from the

 mandate of current and future service members are so great that they pose a



 2Ex. 2, CDC Guidance, at 3. Pfizer’s CEO acknowledged back in January 2022 that
 the mandated two-dose regimen provides little, if any, protection against Omicron.
 See ECF 13 at 19 n.11. Omicron is more transmissible, but less deadly to healthy
 adults, with zero deaths among active-duty service members since November 2021
 when Omicron emerged. See Ex. 3, Rans Decl. at 12-13.
 3 This includes the several thousand that have already been discharged, nearly
 25,000 who have submitted religious accommodation requests (“RAR”), see infra
 Section II.A, Table, and nearly 270,000 that are partially vaccinated. See DoD.
 Coronavirus: DOD Response, Table: DOD Vaccination Data, available at:
 https://www.defense.gov/Spotlights/Coronavirus-DoD-Response/ (last visited July 18,
 2022). In addition, the military has barred 60,000 Army reservists and National
 Guard from drilling or pay. See Allie Griffin, Army Bars More Than 60K National
 Guards, Reservists from Service, Cutting Off Pay, NY Post (July 8, 2022), available
 at:       https://nypost.com/2022/07/08/army-cuts-pay-from-over-60k-unvaccinated-
 national-guard-reserves/ (last visited August 18, 2022).


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 “long-term threat to the all-volunteer force.” 4 The only thing putting a break

 on these unconstitutional, discriminatory, and arbitrary policies destroying

 military readiness are the class-wide injunctions issued against three of the

 Services to date. 5

                                   ARGUMENT

 I.    THIS COURT HAS SUBJECT MATTER JURISDICTION.

       A.     Defendants’ Actions Are Reviewable and Justiciable.

       Plaintiffs challenge a set of discrete, final, inter-related and unlawful

 agency actions. 6 Each challenged action constitutes a “major policy decision,”


 4 Tom Jurkowsky, The Military Has a Serious Recruiting Problem – Congress Must
 Fix it, The Hill (June 21, 2022) (quoting Sen. Thom Tillis (R-N.C.)), available at:
 https://thehill.com/opinion/national-security/3527921-the-military-has-a-serious-
 recruiting-problem-congress-must-fix-it/ (last visited July 17, 2022). See also Maj.
 Gen. James Eifert, The Vaccine Mandate Puts National Security at Risk, WALL
 STREET J. (Aug. 4, 2022) (Commanding General of Florida National Guard), available
 at:     https://www.wsj.com/articles/vaccine-mandate-puts-national-security-at-risk-
 involuntary-termination-armed-forces-military-covid-pandemic-lockdowns-
 11659645396 (last visited Aug. 12, 2022).
 5 See Doster v Kendall, 2022 WL 2760455 (S.D. Oh. July 14, 2022) (Air Force class-
 wide temporary restraining order) (“Doster TRO Order”); Doster v. Kendall, 2022 WL
 2974733 (S.D. Ohio July 27, 2022) (Air Force class-wide preliminary injunction)
 (“Doster PI Order”); Ex. 4, Colonel Financial Management Officer v. Austin, MDFL
 No. 8:22-cv-1275-SDM-TGW, ECF 229 (Aug. 18, 2022) (“CFMO”) (Marine Corps);
 Navy SEALs 1–26 v. Austin, No. 4:21-cv-1236, 2022 WL 1025144 (N.D. Tex. Mar. 28,
 2022) (Navy), appeal filed No. 22-10534 (5th Cir. May 27, 2022).
 6 In the Second Amended Complaint (“SAC”), ECF 52, Plaintiffs challenge: (1) the
 DOD Mandate, see ECF 1-2; (2) the Air Force Mandate, ECF 1-7; (3) the Defendants’
 determination that Emergency Use Authorization (“EUA”) vaccines are legally
 interchangeable with, and may be mandated “as if,” they were fully licensed by, and
 labeled in accordance with, Food and Drug Administration requirements (“DOD
 Interchangeability Directive”), see ECF 1-11 (Pfizer/BioNTech), ECF 1-7 (same), 57-
 1 (Moderna); (4) the categorical elimination of existing medical exemptions

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 rather than, as Defendants’ contend, a routine, “day-to-day” exercise of agency

 discretion, enforcement decisions, or personnel management decisions. Nat’l

 Treasury Employees Union v. Horner, 854 F.2d 490, 496 (D.C. Cir. 1988).

 Moreover, Courts do not defer to agency expertise where, as here, the agency

 has exceeded its statutory authority and/or violated federal statutes or its own

 regulations in an “attempt to usurp major policy decisions properly made by

 Congress.” Ford Motor Co. v. NLRB, 441 U.S. 488, 497 (1979) (citation and

 quotation marks omitted). Instead, courts review the agency’s legal

 interpretation of the governing statute because such actions are not matters

 “peculiarly within the agency’s expertise and discretion.” Crowley Caribean

 Transp., Inc. v. Pena, 37 F.3d 671, 677 (D.C. Cir. 1994).

       Defendants’ actions apply uniformly to hundreds of thousands of Air

 Force personnel. The challenged actions have already resulted in the

 separation of 672 Airmen (as of June 28, 2022), see Ex. 5 at 2, before the

 issuance of the Doster injunction, which temporarily prevents the discharge of

 9,000 Airmen with RARs. See SAC, ¶ 38. Defendants’ actions also substantially

 modify the terms of eligibility for enlistment, retention, deployment,

 promotion, completing an existing term of service, and disciplinary rules. The

 Categorical RAR and ME Bans, which deny service members the


 (“Categorical ME Ban”), see SAC, ¶ 139; and (5) Defendants’ policy not to grant any
 RARs (“No Accommodation Policy” or “Categorical RAR Ban”). See SAC, ¶¶ 37-43.

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 individualized assessments of fitness for service required by law and service

 regulations, based on obsolete scientific evidence or animus, are unlawful

 “major policy decisions” for the same reasons as the military’s categorical bans

 of transgender and HIV+ service members. 7

       B.     Plaintiffs’ Claims Are Justiciable Under Mindes v. Seaman.

       Federal courts have consistently rejected Defendants’ sweeping “military

 nonjusticiability” argument, 8 and the Supreme Court reaffirmed the

 justiciability of RFRA claims in just the past few months. 9 Congress expressly



 7 See generally Roe v. Shanahan, 359 F.Supp.3d 382, 421 (E.D. Va. 2019) (“Roe I”)
 (enjoining categorical ban on HIV-positive service members), aff’d sub nom., Roe v.
 Dept. of Defense, 947 F.3d 207 (4th Cir. 2020) (“Roe II”); Harrison v. Austin, 2022 WL
 1183767 (E.D. Va. Apr. 6, 2022) (same) (“Harrison”); Doe 1 v. Trump, 275 F.Supp.3d
 167(D.D.C. 2017), stay denied pending appeal 2017 WL 6553389 (D.C. Cir. Dec. 22,
 2017) (enjoining transgender ban); Stone v. Trump, 280 F.Supp.3d 747 (D. Md. 2017),
 stay denied pending appeal 2017 WL 9732004 (4th Cir. Dec. 21, 2017). These courts
 found these bans to be “major policy decisions” or “major personnel policies,” even
 though they impacted dozens or hundreds of service members, a tiny fraction of these
 tens or hundreds of thousands categorically banned by the actions challenged here.
 8 See, e.g., Emory v. Sec’y of Navy, 819 F.2d 291, 294 (D.C. Cir.1987) (“The military
 has not been exempted from constitutional provisions that protect the rights of
 individuals. It is precisely the role of the courts to determine whether those rights
 have been violated.”)(citation omitted); Dilley v. Alexander, 603 F.2d 914, 920 (D.C.
 Cir. 1979) (“It is the duty of the federal courts to inquire whether an action of a
 military agency conforms to the law.”).
 9 Defendants rely on Justice Kavanaugh’s “concurring” opinion in Austin v. Navy
 SEALs 1-26, 142 S.Ct. 1301 (2022) (“Austin”), to suggest that the Supreme Court has
 expanded the military nonjusticiability doctrine. See ECF 68 at 2, 10-11 & 23. But
 Justice Kavanaugh was only speaking for himself, as no other Justice joined his
 opinion. In fact, his solo opinion appears to be a dissent because it was contrary to
 the majority’s decision, which left in place the district court and the Fifth Circuit’s
 findings that the plaintiffs’ RFRA and First Amendment claims were justiciable, ripe,
 and satisfied all factors for a preliminary injunction. Justice Kavanaugh, by contrast,

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 granted federal courts jurisdiction to hear RFRA claims by granting a “person

 whose religious exercise has been burdened” the right to “assert that violation

 as a claim or defense in a judicial proceeding and obtain appropriate relief

 against a government.” 42 U.S.C. § 2000bb-1(c). “RFRA includes everyone from

 the President to a park ranger, … from the Chairman of the Joint Chiefs of

 Staff to a military recruiter…” 10

       To date, at least six U.S. District Court opinions have found that nearly

 identical RFRA and Free Exercise Claims satisfy the two-tier tests for

 justiciability set forth in Mindes v. Seaman, 453 F.2d 197, 201 (5th Cir. 1971)

 (“Mindes”), 11 and three have granted Service-wide injunctions against the Air




 concluded that “RFRA does not justify judicial intrusion into military affairs in this
 case.” Navy SEALs 1-26, 142 S.Ct. at 1302 (Kavanaugh, J., Concurring).
 10 CFMO, slip op. at 13. See also id. at 14 (“By enacting RFRA, Congress exercise[d]
 [its] plenary authority to guarantee “broad protection for religious liberty.”)(quoting
 Burwell v. Hobby Lobby Stores, Inc., 573 U.S. 682, 706 (2014)). Defendants bizarrely
 claim that Employment Division v. Smith, 494 U.S. 879 (1990) (“Smith”) precludes
 Plaintiffs’ Free Exercise claim. See ECF 62 at 24 n.15. But Smith was the impetus for
 RFRA, which passed with “singularly bipartisan support” at a time when one party
 held the Presidency and both houses of Congress. CFMO, slip op. at 12.
 11 See Navy SEAL 1 v. Austin, 2022 WL 710321 (M.D. Fla. Mar 2, 2022) (“Navy
 SEAL 1”), stay denied pending appeal No. 22-10645 (11th Cir. Mar. 30, 2022); Air
 Force Officer, 2022 WL 468799 (M.D. Ga. Feb. 15, 2022) (“Air Force Officer”); Navy
 SEALs 1-26 v. Biden, 2022 WL 34443 (N.D. Tex. Jan. 3, 2022) (“Navy SEALs 1-26”),
 stay denied, 27 F.4th 346 (5th Cir. Feb. 28, 2022) (“Navy SEALs 1-26 Stay Order”);
 Poffenbarger v. Kendall, 2022 WL 594810 (S.D. Oh. Feb. 28, 2022) (“Poffenbarger”);
 Doster v. Kendall, 2022 WL 982299 (S.D. Ohio Mar. 31, 2022) (“Doster”). See also
 CFMO at 17 n.7 (questioning whether Mindes applies, but finding it satisfied for the
 same reasons as in Navy SEALs 1-26 and Air Force Officer).


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 Force, Marine Corps, and Navy. See supra note Error! Bookmark not

 defined.. The Fifth Circuit held that RFRA “sets the standards binding on

 every department of the United States”, and “[i]t undoubtedly applies in the

 military context.” 12

              1.     Plaintiffs Have Exhausted Military Remedies and
                     Qualify for Multiple Exhaustion Exemptions.

       Each Plaintiff has had their initial RAR denied, and with the exception

 of Plaintiff Davis, have also had their appeal denied. See SAC, ¶¶ 68-69. With

 respect to Plaintiffs’ Informed Consent and Administrative Procedure Act

 (“APA”) claims, Defendants have eliminated nearly all categories of medical

 exemptions, so there are no military remedies for Plaintiffs to pursue.

       Plaintiffs also qualify for each of the exhaustion exemptions. 13 The

 available remedies are futile and inadequate because the Air Force will not




 12 Navy Seals 1-26 Stay Order, 27 F.4th at 346 (citation and quotation marks
 omitted). Defendants’ assertion that any claims involving military personnel and
 retention matters are non-justiciable is contrary to the very authority on which they
 rely. see ECF 62 at 10-11 & 16-17 (discussing Orloff v Willoughby, 345, U.S. 83 (1953)
 (“Orloff”)). The Court held that failure to assign Orloff duties for which he was
 drafted, i.e., a doctor, would raise justiciable “questions not only of bad faith but of
 unlawful discrimination.” Id. at 88. The statement about judicial noninterference
 referred to “legitimate Army matters.” Id. at 94. Unconstitutional personnel policies
 are not “legitimate … matters” to which Orloff’s admonition applies.
 13 These are: (1) futility; (2) inadequacy; (3) irreparable harm; (4) substantial
 constitutional questions. Von Hoffburg v. Alexander, 615 F.2d 633, 638-40 (5th Cir.
 1980). Futility and inadequacy are addressed here, while the latter two are addressed
 under the first and second Mindes factors in the following section.


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 accommodate any Airmen who will stay in the Air Force. See SAC, ¶¶ 37-39. 14

 Even accepting the Air Force’s statistics, as of June 28, 2022, a total of 9,139

 RARs have been submitted with 109 “approved” (i.e., just over 1.0% approved).

 See infra Section II.A, Table. The SAC describe in detail the rigged process

 used by the Air Force to ensure that all or nearly all RARs will be denied. See

 SAC, ¶¶ 37-39 & 40-41. Courts have found the Air Force’s and other Services’

 remedies to be futile and inadequate so that exhaustion was not required. 15

       Plaintiffs are not required to exhaust their claims before the Air Force

 Board for Correction of Military Records (“AFBCMR”). See ECF 62 at 18-19.

 The AFBCMR “is a clemency-oriented body with authority to correct an error

 or remove an injustice,” but it has “no authority to declare the challenged


 14The courts in CFMO, Navy SEAL 1 and Poffenbarger found, based on admissions
 by defense counsel, that the handful of “accommodations” were granted only to service
 members at the end of their service and thus were in fact administrative exemptions.
 See CFMO at 1, Navy SEAL 1, 2022 WL 534459, at *19; Poffenbarger, 2022 WL
 594810, at *13 n.6. This is confirmed by the Air Force’s policy to treat and report
 RARs as “a subset of administrative exemptions,” Ex. 6, August 9, 2022 DAF COVID-
 19 Statistics, at 1, confirming that the Air Force will not grant an RAR unless that
 person also independently qualifies for an administrative exemption.
 15See Doster, 2022 WL 982299, at *9; Doster TRO Order, 2022 WL 2760455, at *6 n.2.
 See also Navy SEALs 1-26, 2022 WL 34443, at *5-6 (Navy); CFMO, Slip Op. at 20 &
 n.8 (Marine Corps); Navy SEAL 1, 2022 WL 534459, at *14 (Navy and Marine Corps).
 Further evidence that the accommodation process is a futile, rigged game is provided
 in a class action complaint filed in the Tampa Division by 31 military chaplains. See
 Ex. 7, Alvarado v. Austin, MDFL No. 8:22-cv-1149. The military chaplains provide
 sworn declarations detailing how Defendants have rigged the RAR process against
 service members seeking religious accommodation and how chaplains who submitted
 RARs, or assisted those with religious objections, were removed from the RAR process
 and their other assigned duties. See id., ¶¶ 103 & 117.


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 regulations invalid.” 16 The AFBCMR may make recommendations, but “the

 Service Secretary always has the final say over [AFBCMR] decisions[.]” Hodges

 v. Callaway, 499 F.2d 417, 423 (5th Cir. 1974). For the Air Force, the review

 and appeal authorities are three- and four-star generals who report directly to

 Secretary Kendall, who issued the Categorical RAR Ban. There is no reason to

 believe that they will find the Secretary’s policy to be an “error” or “injustice.”

                2.      Plaintiffs Satisfy the Four Mindes Factors.

       First,        Plaintiffs   allege   violations   of   specifically   enumerated

 constitutional rights, namely, First Amendment Free Exercise rights as

 enforced by RFRA and the Fifth Amendment right to procedural due process.

 Plaintiffs’ constitutional and statutory claims are strong. Several courts have

 found largely identical claims to have a substantial likelihood of success and

 to satisfy Mindes for that reason, see supra note 11, and Defendants are


 16 Glines v. Wade, 586 F.2d 675, 678 (9th Cir. 1978), rev'd on other grounds sub nom.
 Brown v. Glines, 444 U.S. 348 (1980). Nor is it empowered to resolve constitutional
 claims. See, e.g., Adair v. England, 183 F. Supp. 2d 31, 55 (D.D.C. 2002). Further, the
 concerns underlying this judicially-created exhaustion doctrine “are diminished to a
 vanishing point in this case,” Roe I, 359 F.Supp.3d at 402, because Plaintiffs’ RARs
 were addressed through a “complex, tiered administrative review process,”
 “culminating in an extensive administrative record and final written decisions”
 reviewed and approved by three- and four-star generals who report directly to
 Secretary Kendall. See Ex. 8, Air Force Policy Directive 52-2, “Accommodation of
 Religious Practices in the Air Force,” ¶ 2.8.1 (July 28, 2020) (“AFPD 52-2”) & ECF 33-
 6, DAFI 52-201, ¶ 3.2 (for the Air Force the RAR approval authority is the MAJCOM
 commander, a three-star Lieutenant General or four-star General, and the final
 appeal authority is the Air Force Surgeon General, (three-star) Lieutenant General
 Dorothy Hogg).


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  currently subject to the Doster injunction.

        Defendants contend that Plaintiffs’ statutory claims do not satisfy

  Mindes because there have not been any successful “APA-based challenges” to

  “internal military policy” such as vaccine mandates. 17 This ignores the Doe v.

  Rumsfeld line of cases that repeatedly enjoined the DOD’s anthrax vaccine

  mandate based on violations of the same statutes, involving the same conduct,

  by the same Defendant (DOD), and some of the same parties (namely, McAfee

  and Nykun). 18 Moreover, four of the six federal COVID-19 vaccine mandates

  were successfully challenged based on similar APA claims that the agency or



  17ECF 62 at 21 (citation omitted). These claims were not addressed in the preliminary
  injunction motion, ECF 13, because the 25-page limit did not provide adequate space
  to brief all of Plaintiffs’ claims and address complex justiciability questions; it was
  not because these claims are weak as Defendants’ claim. See ECF 62 at 20. The cases
  cited by Defendant are inapposite. In Doe#1-#14 v. Austin, 2021 WL 5816632 (N.D.
  Fla. Nov. 12, 2021) (“Doe #1-#14), the court denied an injunction because it accepted
  at face value Defendants’ claims that the DOD Mandate was limited to “BLA-
  compliant” vaccines and that plaintiffs had failed to plead that they were denied such
  vaccines. Id., at *6. In Navy SEAL 1 v. Biden, 2021 WL 5448970 (M.D. Fla. Nov. 22,
  2021), these claims were dismissed because the original complaint did not plead that
  the APA provided a cause of action for the informed consent claim. Crosby v. Austin,
  2022 WL 603874 (M.D. Fla. Mar. 1, 2022) followed Doe#1-#14 in denying the 10
  U.S.C. § 1107a based on failure to plead denial of a BLA-compliant vaccine. As
  discussed in the SAC, ¶¶ 129-131 and infra Section III.B, there is no policy limiting
  the mandate to “BLA-compliant” doses, which is a creation of Defendants’ counsel. In
  any case, Plaintiffs did request BLA-compliant vaccines and were told that no FDA-
  approved vaccines were available. See SAC. ¶¶ 12, 14, 86.
  18See Doe#1 v. Rumsfeld, 297 F.Supp. 2d 119 (D.D.C. 2003) (“Rumsfeld I”) (granting
  preliminary injunction), modified sub. nom. 341 F. Supp. 2d 1 (D.D.C. 2004)
  (“Rumsfeld II”) (permanent injunction), modified sub nom. 2005 WL 774857 (D.D.C.
  Feb. 6, 2005) (“Rumsfeld III”) (consent decree modifying injunction).


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  executive order in question exceeded statutory authority. 19

        Second, Plaintiffs will be deprived of their First Amendment rights if

  review is denied, which presumptively causes irreparable harm. See Elrod v.

  Burns, 427 U.S. 347, 374 (1976). If the Court withholds review, “Plaintiffs

  would be required to choose between their First Amendment freedoms and

  their career in the Air Force.” Doster v. Kendall, 2022 WL 2760097, at *5 (S.D.

  Oh. July 14, 2022) (“Doster MTD Order”). They also face irreparable harm from

  the involuntary administration of an unlicensed EUA vaccine without

  informed consent. Rumsfeld I, 297 F.Supp. 2d at 135.

        Third, judicial review will not interfere with military functions.

  Providing religious accommodation for a few unvaccinated service members

  will not interfere with military functions where over 1,000 Airmen remain

  unvaccinated for secular reasons. See Doster MTD Order, at *5. Accord Air

  Force Officer, at *7. Plaintiffs merely seek to require Defendants to follow their

  own regulations that require individualized assessments of RARs, see ECF 33-

  5, DODI 1300.17 & Ex. 8, AFPD 52-2, and that expressly grant service

  members the “option to refuse” EUA products. See Ex. 9, DOD Instruction


  19See, e.g., Nat'l Fed'n of Indep. Bus. v. OSHA, 142 S. Ct. 661 (2022) (enjoining OSHA
  vaccine Mandate); Feds for Medical Freedom v. Biden, 2022 WL 188329 (S.D. Tex.
  Jan. 21, 2022) (enjoining federal employee vaccine mandate); Georgia, v. Biden, 2021
  WL 5779939 (S.D. Ga. Dec. 7, 2021) (enjoining federal contractor vaccine mandate);
  Texas v. Becerra, 2021 WL 6198109 (N.D. Tex. Dec. 31, 2021) (enjoining Head Start
  mandate); Louisiana v. Becerra, 2022 WL 16571 (W.D. La. Jan. 1, 2022) (same).

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  6200.02, § E3.4 (Feb. 27, 2008) (“DODI 6200.02”). “Requiring the military to

  follow its own policies does not interfere with its functions.” Roe II, 947 F.3d at

  218. See also Rumsfeld I, 297 F.Supp.2d at 128 (review of vaccination mandate

  addresses a “decision made in headquarters, not … a tactical decision military

  supervisors made in the field.”).

        Fourth, the challenged policies do not implicate military expertise or

  discretion. The question of whether Defendants’ religious exemption policy

  “can withstand strict scrutiny doesn’t require military judgment. Such an issue

  is a purely legal matter” appropriate for judicial review. Air Force Officer, at *

  8 (citation omitted). Accord Navy SEALs 1-26, at *8. By adopting the

  Categorical RAR and ME Bans, the DOD “declin[ed] to make individualized

  determinations regarding servicemembers’ fitness for service,” and thereby

  “failed to apply its expertise to the evidence before it.” Roe II, 947 F.3d at 218.

        C.    Plaintiffs’ Religious Liberty Claims Are Ripe.

        Each Plaintiff has had their initial RAR denied, and all but Plaintiff

  Davis have had their appeals denied as well. As such, they meet the

  requirements for ripeness. See, e.g., Navy SEAL 1, at *14. Further, each

  Plaintiff is a member of the class certified in Doster where the Court found Air

  Force plaintiffs’ claims to be ripe, concluding that they “need not wait for

  punishment to occur when such punishment is inevitable without

  intervention.” Doster MTD Order, 2022 WL 2760097, at *3.

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        Defendants fundamentally mischaracterize Plaintiffs’ injuries as being

  limited to discharge or separation, so that the action for which they seek review

  will not be final until after “several steps of discretionary Air Force

  decisionmaking.” ECF 62 at 14. The Categorical RAR Ban was “final” when

  adopted, or at the latest when it was applied to Plaintiffs by denying their

  RARs or RAR appeals. See CFMO, slip op. at 19. An Airman “unlawfully denied

  a religious accommodation … suffers immediate, irreparable harm even if an

  administrative mechanism might afford some relief in the future.” Id.

        D.    Plaintiffs’ Statutory Claims Are Justiciable and Ripe.

        Plaintiffs challenge discrete, final agency actions that violate the

  Informed Consent Laws and the APA. 20 The APA does not require exhaustion

  and instead “incorporates exhaustion requirements established by statute or

  agency rule.” Standage v. Braithwaite, 526 F.Supp.3d 56, 84 (D. Md. 2021)

  (discussing Darby v. Cisneros, 509 U.S. 137 (1993) (“Darby”)). See also id.

  (there is “no military exception to Darby.”). Neither the APA nor 10 U.S.C.

  § 1107a require exhaustion. Defendants’ actions are final because they set

  forth Defendants’ consistent policies since the date of issuance that determine



  20While the Informed Consent Laws do not provide a cause of action, Plaintiffs are
  “entitled to enforce [the statute’s] substantive requirements through the judicial
  review provisions of the APA.” Int'l Brominated Solvents Ass'n v. Am. Conf. of
  Governmental Indus. Hygienists, Inc., 393 F.Supp.2d 1362, 1378 (M.D. Ga. 2005). See
  also Doe #1-#14, 2021 WL 5816632, at *2 & *7 n.12 (describing as “APA claims”).


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  Plaintiffs’ legal rights and obligations. See infra Section III.D. 21 Nor have

  Plaintiffs’ statutory claims been mooted by Defendants’ offer of “Comirnaty-

  labeled” products. Service members who have been able to inspect the product

  have confirmed that it is an unlicensed EUA product. 22

        Defendants claim that Plaintiffs lack standing to challenge the DOD

  Mandate under 10 U.S.C. § 1107a for “objection to a vaccine on religious,

  philosophical or political grounds[.]” ECF 62 at 28 (citation omitted). 10 U.S.C.

  § 1107a imposes no such limitation, and Defendants provide no legal basis for

  reading such a limitation into the statute. Defendants’ assertion that Plaintiffs’

  claims are not within the statute’s “zone of interests,” id. at 27 (citation and

  quotation marks omitted), is similarly without merit. While this test does not

  require Congress to have enacted a statutory provision “specifically intend[ing]

  to benefit the plaintiff,” 23 10 U.S.C. § 1107a was specifically enacted in 2004 in


  21 Defendants appear to assert that Plaintiffs, despite having confirmed that only
  EUA vaccines were available, were further required to “formally request” an “FDA-
  licensed dose” (and have that request formally denied) for their claims to be ripe. See
  ECF 62 at 30 n.18. Defendants have not identified any statutory provision or rule for
  imposing this additional hurdle for bringing Informed Consent or APA claims.
  22 According to military whistleblowers, the vials available are not in fact FDA-
  approved Comirnaty. Instead, they are EUA products (from Lot FW1331, an EUA lot
  according to the CDC) that were not manufactured in accordance with the BLA or at
  BLA-approved locations. See Ex. 10, Aug. 18, 2022 Letter from Sen. Ron Johnson to
  DOD, FDA and CDC, at 1-2.
  23Nat’l Credit Union Admin. v. First Nat’l Bank & Trust Co., 522 U.S. 479, 118 S.Ct.
  927, 935 (1998). See also Mulhall, 618 F.3d at 1290 (the plaintiff need only show that
  the relationship between the “alleged interest and the purposes of [the statute] is
  more than marginal.”) (internal quotation marks omitted).

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  response to the Doe v. Rumsfeld cases to protect the informed consent rights of

  service members like Plaintiffs by granting a right to refuse EUA products.

        E.    This Court Has Jurisdiction to Grant the Relief Requested.

        The Doster injunction grants the preliminary relief that Plaintiffs

  sought. But it does not provide the declaratory and permanent injunctive relief

  sought in the SAC, namely, a judgment finding that the challenged agency

  actions are illegal and must be vacated or enjoined similar to the DOD-wide

  injunctions granted in Rumsfeld II and III. Austin applied only to preliminary

  relief, and it did not purport to limit the scope of permanent injunctive or

  declaratory relief. Further, a declaratory judgment or vacatur will assist

  Plaintiffs in future administrative or court proceedings challenging individual

  personnel decisions or seeking correction of military records.

  II.   PLAINTIFFS’ CONSTITUTIONAL CLAIMS

        A.    Plaintiffs Have Stated RFRA and First Amendment Claims.

        Defendants do not seriously challenge the adequacy of Plaintiffs’

  religious liberty claims. The DOD and Air Force Mandates and the Categorical

  RAR Ban substantially burden Plaintiffs’ free exercise of religion because they

  force Plaintiffs to “decide whether to lose [their] livelihood or violate sincerely

  held religious beliefs.” SAC ¶ 94 (quoting Navy SEALs 1-26, at *9). Their non-

  neutral, individualized exemption policy discriminates against religious

  exercise and otherwise fails to satisfy RFRA. See generally SAC, ¶¶ 89-103 &

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  supra note 11. The most recent data available for each service, see Exs. 5 & 11-

  13 (data for Air Force, Army, Marine Corps, and Navy as of June 2022)

  confirms that the Air Force approves just over 1% of RARs, while the military

  has granted over 100 times more secular exemptions than RARs.

   Service     RARs     RARs     % RAR   Med/Admin Secular
             Submitted Approved Approved Approved vs. RAR
   Air Force    9,139    109      1.2%      1,608   14.8:1
   Army         7,701     19      0.25%    17,338   913:1
   USMC         3,733     7       0.19%      602     86:1
   Navy         4,235     43      1.0%       273     6.3:1
   Total       24,808    178      0.7%     19,821   111:1

        B.    Plaintiffs Have Stated a Procedural Due Process Claim.

        Defendants argue that Plaintiffs’ “improperly plead” multiple claims in

  one count and that it is unclear whether Plaintiffs are “alleging a violation of

  procedural due process rights or … substantive due process rights or both.”

  ECF 62 at 24 n.16 (citation omitted). No reasonable attorney could be confused.

  This claim addresses defects in the “process” used to deny RARs, in particular,

  the “lack of an impartial decisionmaker,” SAC, ¶ 119, an essential element of

  procedural due process. See, e.g., Robbins v. U.S. R.R. Retirement Bd., 586 F.2d

  1034, 1035 (5th Cir. 1978). The word “substantive” does not appear in the

  claim; no substantive due process cases are cited; and it does not allege

  violation of substantive due process rights (e.g., reproductive rights or bodily

  integrity). Defendants also claim that Plaintiffs do not challenge an

  “adjudicative action.” ECF 62 at 25. But that is exactly what they challenge:

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  the sham RAR process that denies individualized treatment required by law.

  III.   PLAINTIFFS’ STATUTORY CLAIMS

         A.    Plaintiffs Have Stated a Claim for Statutory Violations.

         The Informed Consent Laws require that the labeling of all EUA

  products must inform recipients of their right to refuse the product. 10 U.S.C.

  § 1107a prohibits the mandate of an EUA product, and it requires Presidential

  approval to waive the foregoing labeling requirement. Yet it is undisputed that

  Defendants are in fact mandating EUA-labeled vaccines. SAC ¶ 125 (citing

  Austin, 2021 WL5816632, at *5). Defendants assert that Plaintiffs challenge

  only two actions—the DOD Mandate, ECF 1-2 and the Air Force Mandate,

  ECF 1-7—and erroneously claim that none of the challenged actions “mandate

  the administration of [EUA] vaccines.” ECF 68 at 29 (quoting SAC, ¶ 23). This

  is incorrect because (1) Plaintiffs challenge the DOD Interchangeability

  Directive, see ECF 1-11 & 52-1, which directs EUA vaccines to be mandated;

  and (2) the Air Force Mandate states that EUA vaccines are legally

  “interchangeable” with, and may be mandated “as if”, they were licensed

  vaccines. SAC, ¶ 27 (quoting ECF 1-7, Air Force Mandate, ¶¶ 3.1.1, 5.3.2.1).24


  24Defendants have previously asserted that their interchangeability directives were
  limited to the subset of “BLA-compliant” doses. The DOD Interchangeability
  Directives require all EUA vaccines to be treated as interchangeable with, or “as if”
  they were, FDA-licensed vaccines. There is no record evidence of such a limitation.
  See SAC, ¶¶ 129-131. Any statements that the mandate or interchangeability was
  limited to “BLA-compliant” vaccines must be disregarded as an irrelevant “post hoc

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           B.    APA Claims Cannot Be Dismissed without Record.

           Judicial review of agency actions under the APA “must proceed on the

  complete administrative record.” 25 Defendants have not produced a certified

  record. Accordingly, this Court must defer action on the Motion until they have.

           C.    Defendants Are Estopped From Taking a Contrary Position
                 to That Reflected in Rumsfeld III Consent Decree.

           The D.C. District Court initially enjoined Defendant DOD’s anthrax

  vaccine mandate in 2003 in Rumsfeld I, and then granted summary judgment

  and issued a DOD-wide permanent injunction in 2004 in Rumsfeld II.

  Subsequently, Congress enacted the EUA statute and 10 U.S.C. § 1107a, and

  shortly thereafter the FDA granted the anthrax vaccine the very first EUA,

  subject to the conditions that the DOD anthrax program had to be “revised to

  give personnel the option to refuse vaccination” and that refusal of an EUA

  vaccine could not be grounds for punishment, discipline, adverse personnel

  actions, separation or non-deployability. 70 Fed Reg. 5452, 5455 (Feb.2, 2005).

  The DOD then filed an emergency request to modify the injunction to add with

  these conditions, which the court approved in Rumsfeld III. 26



  rationalization” by agency counsel. SAC ¶ 130 (quoting Harrison v. Ocean Bank, 2011
  WL 2607086, at *4 (S.D. Fla. June 30, 2011)).
  25 Gupta v. U.S. Attorney General, 2014 WL 12868884, at *1 (M.D. Fla. Nov. 21, 2014)
  (citation omitted). Accord Vargus v. McHugh, 87 F.Supp.3d 298, 302 (D.D.C. 2015)
  Pitman v. USCIS, 2017 WL 5991738, at *3 (D. Utah Dec. 1, 2017).
  26   The Rumsfeld III consent decree precludes the government from taking a contrary

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        The reading of 10 U.S.C. § 1107a reflected in the Rumsfeld III consent

  decree—that EUA vaccines may not be mandated, and service members may

  not be punished for refusal to take an EUA vaccine—was the DOD’s consistent

  position from the time of enactment through July 2021. 27 “[E]stablished

  practice[s]” are not only due greater deference than unexplained reversals, but

  a long-standing refusal to exercise a claimed power is “significant in

  determining whether such a power was actually conferred.” W. Va. v. EPA, 142

  S. Ct. 2587, 2609 (2022) (citation and quotation marks omitted).

        D.    Plaintiffs Challenge Discrete, Final Agency Actions.

        Plaintiffs’ claims are not impermissible “Programmatic Attacks.” ECF 62

  at 29 (citation omitted). Plaintiffs instead challenge five final, and inter-related

  agency actions or “major policy decisions”: the DOD and Air Force Mandates,



  position here. Defendant DOD has already had a full and fair opportunity to litigate
  the identical issues, which were adjudicated on the merits (i.e., the DOD lost in
  Rumsfeld I and II), and proceeded to a final judgment (initially a permanent
  injunction followed by the Rumsfeld III consent decree).See generally Tracy Bateman,
  et al, 21A Fed. Proc., L.Ed. § 51:259, Definition and Nature of Issue Preclusion;
  Elements (June 2022 Update); id., § 51:266, Final Judgment Required for Issue
  Preclusion. Preclusion applies to Plaintiffs McAfee and Nykun who joined the Air
  Force prior to the date of the DOD-wide consent decree and were thus part of the
  DOD-wide class protected by the consent decree.
  27 In the July 6, 2021 Office of Legal Counsel Memorandum, the DOD indicated that
  it “has understood section 1107a to mean that DOD may not require service members
  to take an EUA product.” ECF 1-23 at 16. This statutory requirement is reflected in
  currently effective DOD regulations. See Ex. 9, DODI 6200.02, § E3.4 (under the EUA
  statute, “potential recipients are provided an option to refuse administration,” but
  “the President may . . . waive the option to refuse”).


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  the DOD Interchangeability Directives, and the Categorical RAR and ME

  Bans. 28 Each of these agency actions are final because these actions: (1) “mark

  the consummation of the agency’s decisionmaking process;” and (2) are actions

  “by which rights or obligations have been determined, or from which legal

  consequences will flow.” Bennett v. Spear, 520 U.S. 154, 177-78 117 S.Ct. 1154

  (1997) (citations and internal quotations omitted).

        The requirements established by the challenged agency actions have not

  been “constantly changing.” ECF 62 at 29 (citation omitted). These agency

  actions set forth Defendants’ consistent policy from the issuance of the

  mandate through the present. Further, these agency actions establish a legally

  binding mandate and severe legal consequences for non-compliance. Plaintiffs

  have already faced severe consequences, see SAC, ¶¶81-87, and but for the

  Doster injunction, almost certainly would have already been further

  disciplined, discharged, and/or lost retirement benefits and damage to future

  employability due to discharge characterization.




  28 Defendants assert that Plaintiffs challenge only two actions—the DOD Mandate,
  ECF 1-2 and the Air Force Mandate, ECF 1-7—and erroneously claim that none of
  the challenged actions “mandate the administration of [EUA] vaccines.” ECF 68 at
  29 (quoting SAC, ¶ 23). This is incorrect because (1) Plaintiffs challenge the DOD
  Interchangeability Directive, which is the authority for the DOD Mandate of EUA
  vaccines; and (2) the Air Force Mandate states that EUA vaccines are
  “interchangeable” and may be mandated as if they were licensed vaccine. SAC, ¶ 27
  (quoting ECF 1-7, Air Force Mandate, ¶¶ 3.1.1, 5.3.2.1)-.

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  IV.   CONCLUSION

        This Court should deny Defendants’ Motion to Dismiss.

  Dated: August 25, 2022               Respectfully Submitted,

                                       /s/ Brandon Johnson
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                         CERTIFICATE OF SERVICE
        This is to certify that I have on this day e-filed the foregoing Plaintiffs’

  Opposition to Defendants’ Motion to Dismiss using the CM/ECF system.

  Dated: August 25, 2022                      Respectfully Submitted,
                                              /s/ Brandon Johnson
                                              Brandon Johnson




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